Both plaintiffs and defendant claim through Mildred Goforth, who devised the land in controversy to Achilles Foster in trust for her daughters, Anna D. and Pheba Goforth, or to the survivor for life, with remainder to the issue of both or either, but on failure of such issue at the time of the death of the survivor of the two, to her "own lawful heirs."
Mildred Goforth left surviving her eight children, viz.: Anna D., who died without issue in 1886, and Pheba, who died without issue in 1887, and six others who married and are now living or have left children who are still surviving, viz.: John Goforth, William Goforth, Mildred, who married Edmund Tilley; Delpha, who married Wyatt Rose; Lucy, who married Anthony Foster, and who was the mother of the plaintiffs, and Levinia, who married __________ Foster.
James Calloway, the executor of Mildred Goforth, assuming that he had power under the will or as attorney for her heirs and devisees, sold and conveyed the land in dispute on 28 June, 1858, while Anna D. and Pheba were living, to the said Levinia Foster, one of the daughters of the testatrix. The defendant claims under a deed from Levinia (551)  Foster, dated 6 October, 1871. It was admitted on the trial that James Calloway had no power under the will to dispose of the land and no instrument was shown constituting him the agent of the heirs and devisees of Mildred Goforth, or any of them, for that purpose. So, if we concede that the deed of Levinia to the defendant precluded her or her heirs, if she is now dead, from setting up any claim to the interest which vested subsequent to the date of her deed or the death of Pheba, in 1887, in the "lawful heirs" of Mildred Goforth, the title to one undivided sixth only of the land in controversy was shown to be in the plaintiffs, while the other four undivided sixths are vested in John Goforth, William Goforth, Mildred Tilley, and Delpha Rose, or their heirs, one-sixth in each.
The plaintiffs have not excepted, but seem to have conceded that the defendant, as the grantee of Levinia Foster, is a tenant in common with the other heirs of Mildred Goforth, holding her undivided sixth interest.
Though the rule has been repudiated in many of the States, it seems to be settled in North Carolina that, in actions for the possession of land, where a plaintiff proves his title to an undivided interest, he can have judgment for the whole if he has shown "on the trial that the same evidence of title or possession that established his own right demonstrated the fact that others than the defendant held as cotenants the other undivided interest and that the action inured to their benefit." Allen v. Sallinger, *Page 395 103 N.C. 18; Sedgwick  Wait, sec. 300. The rule is stated by Sedgwick  Wait as follows: "Each cotenant can pursue his remedies independent of the others and may maintain ejectment or trespass to try title alone, and in many States may recover the entire premises and estate from trespassers, strangers, wrong-doers and all persons other than his cotenants and those claiming under them. When his right is recognized he recovers for all. This principle has been expressly recognized in Oregon, Nebraska, Nevada, North Carolina, etc. . . . But the rule has been repudiated in Massachusetts,           (552) Pennsylvania and Missouri."
Where, in the old declaration in ejectment, the demise was laid from one of several tenants in common, the plaintiff could recover his term in the undivided share of that particular tenant (Godfrey v. Cartwright,15 N.C. 487; Holdfast v. Shepherd, 28 N.C. 361), and on the joint demise of two or more lessors, who are tenants in common with another or others, a recovery might be had to the extent of their combined interests, unless there was joined with them in the demise a person not shown to have such common interest with them. Bronson v. Paynter,20 N.C. 527; Hoyle v. Stowe, 13 N.C. 318. Where in such cases a general verdict of guilty was returned, the plaintiff was entitled to judgment that he recover his term, as under the writ of possession the lessor of the plaintiff proceeded at his peril. Holdfast v. Shepherd,supra. But, as was said by Daniel, J., in Godfrey v. Cartwright, supra, "the more correct way of proceeding is for the jury to find the defendant guilty of the trespass and ejectment in the undivided portion of the land described in the declaration to which the lessor proves title on the trial, and then the judgment shall be rendered accordingly," viz., that the plaintiff be let into possession of or as to his undivided interest. InLenoir v. South, 32 N.C. 237, Ruffin, C. J., in speaking of the propriety of returning specific findings as to boundaries or extent of interest, said: "The jury may indeed give a general verdict and it is usual to do so, but when the precise interest of the lessor or lessors of the plaintiff appears, it is generally proper and most for the         (553) convenience that the verdict should be according to it."
But, when the fictitious action was abolished and that for possession was substituted for it, it became all-important if title was put in issue, as it generally was, that the plaintiff's judgment should be limited to his actual boundary or to his specific interest, because it was no longer a contest between nominal but real parties, and the decree was conclusive both as to territorial limits and the nature of the seizin. Withrow v.Biggerstaff, 82 N.C. 82; Allen v. Sallinger, supra; Gilchrist v.Middleton, 107 N.C. 663. *Page 396 
In Gilchrist v. Middleton, supra, the Court said: "One tenant in common of land may sue alone and recover the entire interest in the common property against another claiming adversely to his cotenants as well as to himself, though he actually prove title to only an undivided interest. This he is allowed to do in order to protect the rights of his cotenants against trespassers and disseizors. But where it appears from the proof offered to show title, or is admitted, as in this case, that a defendant who has confessed ouster by denying plaintiff's title is in reality a tenant in common with the latter, it is the duty of the court to instruct the jury, by a specific finding, to ascertain and determine the undivided interest of the plaintiff. This obviates the danger of concluding the defendant by a general finding that the plaintiff is the owner." It thus appears "how one tenant in common may sue a trespasser who is infringing upon the rights of himself and his cotenants and recover the entire land, or sue his cotenant, who simply refuses to recognize his right in his answer, and recover such interest only as he may establish title for."
The rule which we have been discussing is one peculiarly applicable to actions for the possession of land, being that which obtained in the trial of actions of ejectment modified so far as to accommodate it (554)  to the new remedy substituted for the old fictitious suit.
"The exception to the general rule that all persons interested in and to be affected must be made parties on the one side or the other obtained in courts of equity, where they were very numerous or it was impracticable to bring them all before the court." Story Eq. Pl., sec. 122;Bronson v. Ins. Co., 85 N.C. 411. Section 185 of The Code reaffirms this principle and enlarges its operation by allowing one to sue for all others, both where the parties are very numerous and where they have common interests, in all actions without regard to their nature. Bronson v. Ins.Co., supra; Pom. Rem., sec. 391; Thames v. Jones, 97 N.C. 121; Glenn v.Bank, 72 N.C. 626. But where one rests his right to sue alone in behalf of himself and others on the ground that the parties in interest are so numerous that it is impracticable to bring them before the court, he must so allege. Thomas v. Jones, supra; McMillan v. Reeves, 102 N.C. 550; Clark's Code, p. 98. It is obvious, therefore, that one of several cotenants, when he brings an action against a trespasser on the common property and proves the title of the other tenants in establishing his own, may, under the common-law practice in ejectment applied to actions for the possession of land, recover the whole though he claim sole seizin in his complaint in himself, just as he can do under the procedure prescribed in The Code by alleging that the action is brought in behalf of himself and others having a common interest, though it has never been determined in this State how far, if at all, *Page 397 
in the action under the provisions of the statute, the cotenants, not actual parties, would be concluded by the judgment. Thames v. Jones, supra;
Pomeroy Rem., 391. The statutory remedy not being exclusive, the plaintiffs were at liberty after claiming sole seizin to insist upon recovering the whole, if they showed title in themselves and cotenants against a tort feasor in possession.
If, therefore, the deed of Levinia Foster, executed in 1871,    (555) when in contemplation of law it was possible that both Anna and Pheba Goforth might still have issue, operated upon the death of the survivor of the two in 1887 to pass the one undivided sixth, that would then have vested in her, to the defendant as her grantee, then the defendant is a tenant in common, and the court should have instructed the jury to find that the plaintiffs were the owners of one undivided sixth, and should have given judgment that they be let into possession according to their interests. Levinia Foster executed the deed in 1871 to a contingent interest which could vest in her only, in case both Anna and Pheba should die without issue, and she should survive them.
2 Blackstone, 290, lays down the rule as follows: "Reversions and vested remainders may be granted, because the possession of the particular tenant is the possession of him in reversion or remainder; but contingencies and mere possibilities, though they may be released or devised by will or may pass to the heir or executor, yet cannot (it hath been said) be assigned to a stranger, unless coupled with some interest." The ancient policy, which prohibited the sale of a pretended title and adjudged the act to be an unlawful maintenance, it was well said byChancellor Kent, has outlived the reason upon which it was founded in a state of society very different from that now existing in any part of the United States or the British Dominion. 2 Kent Com., 447. The limitation is similar to that discussed in Watson v. Smith, 110 N.C. 6, the only difference being that the persons who were to take the contingent interest, on failure of issue of J. W. B. Watson at his death, were in that case designated by name, whereas in our case the contingent interest was to vest in "the lawful heirs" of the devisor, whoever they may be, upon the death of the survivor of the two daughters and failure of issue of both. In some of the States there are statutes         (556) expressly providing that such expectancies can be conveyed by deed, but in the absence of such legislation we would be led into a discussion of questions as to which there is some conflict of opinion, if our decision hinged upon the inquiry whether Levinia Foster had the power in 1871 to convey or only to make an assignment of her interest for a valuable consideration, which, as a contract to convey, she would be compelled by a Court of Equity to perform specifically on the happening of the contingency, when her estate should vest, or whether she was prohibited *Page 398 
by public policy on account of the uncertainty of the persons who would fall under the description of lawful heirs, on failure of issue of Anna and Pheba at the death of the survivor, from transferring her interest either in law or equity. Washburn Real Prop., pp. 737, 776, 777; McDonald v.McDonald, 58 N.C. 211; Mastin v. Marlow, 65 N.C. 695; 20 A.  E., pp. 968, 969, notes; 1 A.  E., p. 830; Shep. Touch., 238; 6 Cruise Dig., 27n. If the deed were upheld only as an equitable assignment, and the defendant wished to rest her defense upon the ground that it passed the equitable interest of Levinia Foster to her, it would be essential that she should set forth and plead specifically her equity. Geer v. Geer, 109 N.C. 679.
But in order to obviate the necessity of discussing these intricate and interesting questions, this Court, in the exercise of its discretionary power, has ordered to be certified a copy of the deed from Levinia Foster to Siddia Hackett, from which it appears that the grantor covenanted therein for herself and her heirs to forever warrant and defend the title to the land conveyed to the said Siddia Hackett against the claims of all persons whatsoever. The deed with warranty certainly (557)  took effect upon the death of Pheba, in 1887, so as to pass the title by way of estoppel to the defendant as the grantee of Levinia Foster to the one undivided sixth which then vested in her, as against Levinia Foster or her heirs, if she were then dead. It does not appear positively whether Levinia was living or dead when Pheba died in 1887, but the deed would estop her, or the warranty, her heirs. Benick v.Bowman, 56 N.C. 314; Sedgwick  Wait, supra, sec. 850; Tiedeman Real Prop., sec. 727; 6 Lawson R.  R., sec. 2701.
The defendant, being the owner of the undivided sixth interest that vested on the death of Pheba in Levinia Foster, or her children and heirs at law, was a tenant in common with the plaintiffs, and not a trespasser. The court below erred, therefore, in instructing the jury to find that the plaintiffs were the owners and entitled to the possession of five undivided sixths of the land lying northeast of the creek. The response to the issue should have been that plaintiffs were the owners of one undivided sixth, and judgment should have been rendered that they be let into possession with defendant according to their interest.
For the error mentioned, a new trial must be granted. Whether the defendant can offer any testimony on the next trial that should be submitted to the jury as tending to show an estoppel in pais remains to be seen.
NEW TRIAL.
Cited: Moody v. Johnson, post, 811; Lenoir v. Mining Co., 113 N.C. 519;Wright v. Brown, 116 N.C. 29; Taylor v. Smith, ib., 534; Brown *Page 399 v. Dail, 117 N.C. 43; Blue v. Ritter, 118 N.C. 582; Winborne v. LumberCo., 130 N.C. 33; Hooker v. Greenville, ib., 474; S. v. Crook,132 N.C. 1058; Boles v. Caudle, 133 N.C. 534; Allred v. Smith,135 N.C. 451; Kornegay v. Miller, 137 N.C. 663; Walker v. Taylor,144 N.C. 178; Hobgood v. Hobgood, 169 N.C. 490; Ford v. McBrayer,171 N.C. 425; James v. Hooker, 172 N.C. 783; Baker v. Austin,174 N.C. 435; Bourne v. Farrar, 180 N.C. 137.
(558)